Case 9:20-cv-82015-WPD Document 34 Entered on FLSD Docket 10/14/2021 Page 1 of 2
            USCA11 Case: 21-12895 Date Filed: 10/13/2021 Page: 1 of 2

                                                                                                          AP
                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT
                                                                                        Oct 13, 2021
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303
                                                                                                                  MIAMI
  David J. Smith                                                                      For rules and forms visit
  Clerk of Court                                                                      www.ca11.uscourts.gov


                                           October 13, 2021

  Clerk - Southern District of Florida
  U.S. District Court
  400 N MIAMI AVE
  MIAMI, FL 33128-1810

  Appeal Number: 21-12895-AA
  Case Style: Harrington Law Associates, PLLC v. Landmark American Insurance Company
  District Court Docket No: 9:20-cv-82015-WPD

  The enclosed copy of the Clerk's Entry of Dismissal for failure to prosecute in the above-
  referenced appeal is issued as the mandate of this court. See 11th Cir. R. 41-4. Pursuant to 11th
  Cir. R. 42-2(c) and 42-3(c), when an appellant fails to timely file or correct a brief or appendix,
  the appeal shall be treated as dismissed on the first business day following the due date. This
  appeal was treated as dismissed on 10/05/2021.

  Eleventh Circuit Rules 42-2(e) and 42-3(e) govern motions to set aside dismissal and remedy
  the default. Such motions must be filed within 14 days of the date the clerk issues the Entry of
  Dismissal. Except as otherwise provided by FRAP 25(a) for inmate filings, a motion to set aside
  dismissal and remedy the default is not timely unless the clerk receives the motion within the
  time fixed for filing. See FRAP 25(a)(2)(A)(i).

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: T. L. Searcy, AA
  Phone #: (404) 335-6180

  Enclosure(s)




                                                             DIS-2CIV Letter and Entry of Dismissal
Case 9:20-cv-82015-WPD Document 34 Entered on FLSD Docket 10/14/2021 Page 2 of 2
            USCA11 Case: 21-12895 Date Filed: 10/13/2021 Page: 2 of 2


                        IN THE UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT

                                          ______________

                                          No. 21-12895-AA
                                          ______________

  HARRINGTON LAW ASSOCIATES, PLLC,
  d.b.a. Harrington Legal Alliance,

                                                     Plaintiff - Appellant,

  versus

  LANDMARK AMERICAN INSURANCE COMPANY,

                                              Defendant - Appellee.
                        __________________________________________

                           Appeal from the United States District Court
                               for the Southern District of Florida
                        __________________________________________

  ENTRY OF DISMISSAL: Pursuant to the 11th Cir.R. 42-1(b), this appeal is hereby
  DISMISSED for want of prosecution because the appellant Harrington Law Associates, PLLC
  has failed to file an appellant's brief and appendix within the time fixed by the rules, effective
  October 13, 2021.

                                         DAVID J. SMITH
                              Clerk of Court of the United States Court
                                 of Appeals for the Eleventh Circuit

                                 by: T. L. Searcy, AA, Deputy Clerk

                                                             FOR THE COURT - BY DIRECTION
